Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 1 of 18 PageID #: 563




                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 State of Texas, et al.,                          §
                                                  §
        Plaintiffs,                               §
                                                  §            CASE NO. 6:24-CV-306-JCB
 v.                                               §
                                                  §
 United States Department of                      §
 Homeland Security, et al.,                       §
                                                  §
        Defendants.                               §

               PLAINTIFFS’ OPPOSITION TO PROPOSED INTERVENORS’
                     MOTION TO INTERVENE AS DEFENDANTS


       Texas and 15 other States (Plaintiffs) filed suit against various federal agencies and officials

(Federal Defendants) (together, the Parties) to challenge the Biden-Harris Administration’s

“Parole in Place” (PIP) Program, which illegally circumvents the longstanding statutory

requirement that certain illegal aliens leave the country for ten years before reapplying for

admission and legal status. A group of eleven individuals and one non-profit (collectively, the

Proposed Intervenors), request intervention. ECF No. 15. The motion for intervention came on

the same day this Court issued its Order granting an administrative stay of the PIP Program, and

putting in place an expedited briefing and discovery schedule that would allow it to rule on the

merits as early as mid-October. ECF No. 27.

       Although justified by good cause, the accelerated timeline entered by this Court presents

substantial case-management issues. Not only must the Parties prepare their case-in-chief,

including any discovery (such as serving and responding to interrogatories and requests for

admission on five-day turnarounds, requesting and producing documents on the same timeframe,

and taking and defending depositions, all in a 21-day period), but they also must complete any
motions practice so that it does not impede the swift resolution of the claims brought by Plaintiffs.

                                                  1
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 2 of 18 PageID #: 564




To facilitate matters, the Parties have started negotiations aimed at streamlining the proceedings.

A joint stipulation limiting the scope of discovery has already been filed. ECF No. 36.

       Adding the Proposed Intervenors, even at this early stage, threatens to upend the expedited

schedule. This is because intervenors do not merely articulate their perspective to the court like

amici. Unless their participation is cabined at the start, they are a source of additional discovery,

questions, briefs, arguments, motions and the like—all of which makes disposition of a lawsuit

more difficult, especially when the parties are operating under tight deadlines. In addition to this,

it is clear from their motion that the Proposed Intervenors share the same objective as the Federal

Defendants. They have not established adversity of interests—nor could they since the Federal

Defendants have yet to even file an answer. The basis of their intervention rests entirely on

speculation.

       Proposed Intervenors therefore cannot meet their burden for intervention as of right, and

circumstances of the case disfavor permissive intervention. Their motion should be denied on all

grounds. In the alternative, should this Court grant intervention, Plaintiffs request that this Court

preclude the Proposed Intervenors from engaging in any discovery. The questions presented in

these proceedings are primarily legal ones. Proposed Intervenors cannot contribute to the

development of standing any more than the Federal Defendants. Their exclusion from discovery

proceedings therefore would not undermine Proposed Intervenors’ interests, but it would have the
benefit of minimizing potential disruptions.

                                           BACKGROUND

       Congress has strictly limited the Executive’s parole authority to a “case-by-case” basis for

“urgent humanitarian reasons” or “significant public benefit.” 8 U.S.C. § 1182(d)(5)(A). These

restrictions were intended to prevent the Executive from circumventing immigration laws by

admitting large groups of aliens without a lawful basis. The Biden-Harris Administration’s PIP

Program defies these statutory limits by creating a pathway to legal status for over 1.3 million aliens

who have been unlawfully present for ten years or more, without requiring them to follow

                                                  2
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 3 of 18 PageID #: 565




Congress’s mandate that they leave the country or comply with existing immigration laws. See

generally Implementation of Keeping Families Together, 89 Fed. Reg. 67,459 (Notice). The

program grants parole en masse, bypassing the need for individualized determinations and

disregarding Congress’s clear limits on parole authority.

       Plaintiffs filed a complaint on August 23, 2024, arguing that the PIP Program conflicts with

existing immigration law and incentivizes illegal immigration, causing irreparable harm. ECF No.

1. Plaintiffs moved for emergency relief that same day. ECF No. 3. In response, this Court issued

an administrative stay on August 26, 2024—temporarily preventing USCIS from approving any

PIP applications for 14 days, while allowing the agency to continue accepting new applications. In

its order, the Court set an expedited schedule, requiring discovery to be completed by September

16, 2024, and it established tight deadlines for motions and responses, including a timeline for

preparing the administrative record by September 9, 2024, and completing summary judgment by

October 10, 2024. ECF No. 27.

       Despite the considerable logistical challenges, the Parties negotiated in good faith and

managed to reach substantial agreement on how to proceed with the accelerated discovery

schedule. A stipulation describing an important aspect of that agreement was jointly filed with this

Court. See ECF No. 36. Specifically, the Parties agreed that Plaintiffs “will only seek to establish

Article III injury based on alleged injuries to Texas;” they “may not attempt to introduce new
evidence of injury or irreparable harm” relating to another State “absent new reciprocal discovery.”

Id. ¶¶ 1–2. In exchange, Federal Defendants stipulated that their discovery requests would be

limited to Texas. Id. ¶ 1. The Parties continue to negotiate in good faith on other matters and hope

to enter into additional arrangements in the near future that further simplify litigation.

       The Parties have balanced the need for speedy resolution with the practical concern of

giving each side sufficient opportunity to develop their facts and legal arguments. Yet, on the same

day this Court issued its order, Proposed Intervenors sought admission into the case as defendants

advancing the same ultimate objective as the federal government: namely, the continuation of the

                                                  3
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 4 of 18 PageID #: 566




PIP Program. They consist of the “Coalition for Humane Immigrant Rights” (CHIRLA), an

advocacy organization, claiming to represent the interests of its members, as well as eleven

individuals who describe themselves as beneficiaries of the PIP Program. The Proposed

Intervenors have not disclaimed an interest in participating in discovery, which is ongoing at a hyper

pace on a short timeline. They have also prematurely indicated an intention to file a motion with

court, seeking vacatur of the administrative stay—that motion would be duplicative of the one

Federal Defendants plan to submit next week. See Ex. A.

        Recognizing the disruption their addition would cause, Plaintiffs submit this response in

opposition to Proposed Intervenors’ motion for intervention.

                                               STANDARD

        The Federal Rules of Civil Procedure provide two mechanisms for third-party intervention:

intervention of right under Rule 24(a), and permissive intervention under Rule 24(b). Rule 24(a)

allows nonparties to intervene only where they are “given a right to intervene by a federal statute”

or they “claim[ ] an interest relating to the property or transaction that is the subject of the action,

and [are] so situated that disposing of the action may as a practical matter impair or impede the

movant’s ability to protect its interest, unless existing parties adequately represent that interest.” Fed.

R. Civ. P. 24(a) (emphasis added).

        The Proposed Intervenors do not claim a statutory right to intervene, so they must satisfy
the requirements of Rule 24(a)(2):

        It is well-settled that to intervene as of right each of the four requirements of the
        rule must be met: (1) the application for intervention must be timely; (2) the
        applicant must have an interest relating to the property or transaction which is the
        subject of the action; (3) the applicant must be so situated that the disposition of the
        action may, as a practical matter, impair or impeded his ability to protect that
        interest; (4) the applicant’s interest must be inadequately represented by the
        existing parties to the suit.
New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co. (NOPSI), 732 F.2d 452, 463 (5th Cir. 1984)

(en banc) (quotation omitted). “If a would-be intervenor fails to meet any one of these requirements


                                                    4
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 5 of 18 PageID #: 567




then it cannot intervene as a matter of right.” Bush v. Viterna, 740 F.2d 350, 354 (5th Cir. 1984) (per

curiam).

       Meanwhile, permissive intervention under Rule 24(b) is permitted at the Court’s discretion

when: (1) a timely application is made by the intervenor; (2) the intervenor’s claim or defense and

the main action have a question of law or fact in common; and (3) intervention will not unduly delay

or prejudice the adjudication of the rights of the original parties. LULAC v. Clements, 884 F.2d 185,

189 n.2 (5th Cir. 1989). Permissive intervention “is at the discretion of the court.” Walker v. Alta

Colls, Inc., No. 1:09-cv-894, 2011 WL 13269547, at *2 (W.D. Tex. Aug. 10, 2011). A district court

thus “may deny permissive intervention even when the requirements of Rule 24(b) are met.”

United States v. City of New Orleans, 540 F. App’x 380, 381 (5th Cir. 2013) (per curiam).

                                            ARGUMENT
I. Proposed Intervenors have no right to intervene because their interests are adequately
   represented by existing parties.
       As an initial matter, this Court should not rule on the Proposed Intervenors’ motion until

Federal Defendants file an answer to Plaintiffs’ complaint. The alleged inadequacy of Federal

Defendants’ representation is pivotal to deciding the motion to intervene. Until Federal

Defendants file an answer, Proposed Intervenors’ arguments that their interests are not adequately

represented by Federal Defendants are entirely speculative. See Franciscan All., Inc. v. Burwell, No.

7:16-cv-108, 2016 WL 9281524, at *3 (N.D. Tex. Nov. 1, 2016) (O’Connor, J.) (staying

consideration of motion to intervene until after defendants filed answer, refusing to consider

intervention despite a pending motion for preliminary injunction, but allowing participation as

amicus curiae). Considering the motion to intervene after Federal Defendants file their answer will

provide the Court with enough information to determine whether the Proposed Intervenors have

met their burden to show that circumstance. Beyond that, the Proposed Intervenors will not be

prejudiced by such a delay because they have filed a motion to intervene in the early stages of

litigation which this Court can consider once the parties have stated their positions in this case.
Sierra Club v. Espy, 18 F.3d 1202, 1206 (5th Cir. 1994).

                                                  5
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 6 of 18 PageID #: 568




        That said, the Proposed Intervenors do not have a right to intervene because they have no

statutory right to intervene, and the existing Parties adequately represent the interest the Proposed

Intervenors claim. There are two presumptions the Proposed Intervenors must overcome to show

inadequate representation. “First, when the putative representative is a governmental body or

officer charged by law with representing the interests of the absentee, a presumption of adequate

representation arises whether the would-be intervenor is a citizen or subdivision of the

governmental entity.” Edwards v. City of Houston, 78 F.3d 983, 1005 (5th Cir. 1996). The second

presumption applies “when the would-be intervenor has the same ultimate objective as the party

to the suit.” Id.

        The Federal Defendants are charged with implementing DHS policies and defending them

in court. Thus, as courts have held in comparable cases, the first presumption applies. See, e.g.,

Texas v. U.S. Dep’t of Homeland Sec. (CHNV Intervention), No. 6:23-cv-7, 2023 WL 3025080, at *4

(S.D. Tex. Apr. 19, 2023) (Tipton, J.) (first presumption applies because DHS is obligated to defend

its policies on parole). The second presumption also applies because the Proposed Intervenors and

the Federal Defendants have the same objective: “for the parole program to remain effective.” Id.

Thus, both presumptions apply, and neither has been overcome.

        “This Circuit holds that when the party seeking to intervene has the same ultimate

objective as a party to the suit, the existing party is presumed to adequately represent the party
seeking to intervene unless that party demonstrates adversity of interest, collusion, or

nonfeasance.” Kneeland v. NCAA, 806 F.2d 1285, 1288 (5th Cir. 1987) (citing Viterna, 740 F.2d at

355). “[W]here the party whose representation is said to be inadequate is a governmental agency, a

much stronger showing of inadequacy is required.” Hopwood v. Texas, 21 F.3d 603, 605 (5th Cir.

1994). Here, the Proposed Intervenors do not allege any form of collusion or nonfeasance—only

adversity of interest is at issue. Yet the Proposed Intervenors have failed to show that their interests

are inadequately represented by Federal Defendants; they have not identified a single legal position

or argument likely to differ between them.

                                                   6
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 7 of 18 PageID #: 569




        “In order to show adversity of interest, an intervenor must demonstrate that its interests

diverge from the putative representative’s interests in a manner germane to the case.” Texas v.

United States (Texas DAPA Intervention), 805 F.3d 653, 662 (5th Cir. 2015). The Edwards court held

that the governmental representative presumption arises “whether the would-be intervenor is a

citizen or subdivision of the governmental entity,” 78 F.3d at 1005, so it would be absurd to say that

the fundamental difference in position between a governmental entity and a citizen is, alone,

sufficient to show inadequacy of representation—there must be some material difference in how

the parties would approach the case. This is where the Proposed Intervenors have come up short.

        Proposed Intervenors rely heavily on Texas DAPA Intervention, but that case is readily

distinguishable and even provides a helpful counterexample to the Proposed Intervenors here.

There, the intervenors demonstrated “the particular way in which these divergent interests have

impacted the litigation.” 805 F.3d at 663. Specifically, “the Government had taken the position that

the States may refuse to issue driver’s licenses to deferred action recipients,” but the proposed

intervenors specifically sought a form of legal status that would permit them to acquire driver’s

licenses. Id. The Government also had a general interest “in securing an expansive interpretation

of executive authority” distinct from anything the proposed intervenors sought and could impact

litigation strategy.

        Similarly, in Sierra Club, 18 F.3d 1202, timber industry trade groups sought to intervene
after a court granted a preliminary injunction against certain logging practices. In response, the

government defendants adopted a policy broader than the injunction required, prohibiting both the

challenged timber sales and any other sales of the same type. Id. at 1204. The court found that this

broader policy reflected the government’s obligation to “represent the broad public interest” and

contrasted that against the proposed intervenors’ narrower interest in representing “the economic

concerns of the timber industry.” Id. at 1207–08.

        Here, however, the interests of the Proposed Intervenors and the Federal Defendants are

closely aligned. The Proposed Intervenors emphasize that the agencies “have the authority to grant

                                                  7
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 8 of 18 PageID #: 570




or deny” parole applications but never hint at a belief that the Government lacks power to deny

applications that do not meet PIP Program requirements. ECF No. 15 at 18 (emphasis in original).

The Proposed Intervenors list governmental objectives that they claim not to share but do not even

try to explain how those objectives create any form of adversity between themselves and the

government. Fundamentally, both the Proposed Intervenors and the Federal Defendants are fully

aligned.

       For example, the Proposed Intervenors point to the Federal Defendants’ alleged interest in

“reducing strain on limited U.S. government resources,” ECF No. 15 at 19, but the Notice explains

that this objective is only anticipated where PIP Program applicants would otherwise pursue a more

thorough procedure, such as the Form I-601A Application for Provisional Unlawful Presence

Waiver. See 89 Fed. Reg. at 67,468. In other words, per the Federal Defendants, that objective is

accomplished when applicants are granted parole. The same applies to every other alleged disparate

objective: the Federal Defendants do not argue in the Notice that their alleged interest in family

stability, the alleged economic benefits of PIP, diplomatic objectives, and so on, are accomplished

by creating Form I-131F or having a new program available; every one of the Federal Defendants’

objectives boils down to one more reason the Federal Defendants want to grant applicants parole.

       The Proposed Intervenors want the Federal Defendants to grant parole to illegal aliens who

meet the requirements of the PIP Program. Federal Defendants obviously want the same thing.
They may have different reasons for wanting that, but the Proposed Intervenors cannot identify a

single way in which those different reasons affect participation in this case. As in Kneeland v.

NCAA, the Proposed Intervenors may “argue that they have a stronger interest in the litigation,”

but they “have demonstrated no adversity of interest that justifies allowing intervention.” 806 F.2d

at 1288 (no right for schools to intervene where associations were sued for records, even though

the records were the schools’, because the schools could not show how their participation would

impact the course of the litigation).



                                                 8
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 9 of 18 PageID #: 571




        Similarly, in Hopwood v. Texas, the State’s obligation to “balance competing goals,” as

contrasted against the proposed intervenors’ “sharp focus on preserving the” challenged policy

was not enough to show inadequate representation. 21 F.3d at 605 (cleaned up). As with the

Proposed Intervenors here, the groups seeking to intervene in Hopwood identified a number of

governmental goals they did not share, such as “educational goals, fiscal responsibility,

administrative concerns[,] and public opinion,” whereas their only goal was preserving a policy of

racial preferences that benefited their members. Id. Yet, like the Proposed Intervenors here, they

“ha[d] not demonstrated that the State [would] not strongly defend its affirmative action program,”

nor had they “shown that they have a separate defense of the affirmative action plan that the State

has failed to assert.” Id. at 605–06.

        Like the proposed intervenors in Hopwood and Kneeland, the Proposed Intervenors here

may argue that they have a more personal concern for the PIP Program than the agencies that

created it. But they have not shown how that concern translates to a difference in how they would

defend the illegal program. Intervention by right should be denied.

II. The Court should deny permissive intervention in the unique circumstances present in
    this case.
        The Proposed Intervenors also ask that this Court to grant them permissive intervention

pursuant to Federal Rule of Civil Procedure 24(b). That request should be denied as intervention

would be disruptive and prejudicial. Intervention under Rule 24(b) “is wholly discretionary with

the [district] court . . . even though there is a common question of law or fact, or the requirements

of Rule 24(b) are otherwise satisfied.” Kneeland, 806 F.2d at 1289; see 7C C. Wright & A. Miller,

Federal Practice and Procedure § 1913. In exercising that discretion, “it is proper to consider, among

other things, whether the intervenors’ interests are adequately represented by other parties’ and

whether they will significantly contribute to full development of the underlying factual issues in

the suit.” NOPSI, 732 F.2d at 472 (cleaned up). Moreover, Rule 24(b)(3) states:




                                                  9
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 10 of 18 PageID #: 572




           Delay or Prejudice. In exercising its discretion, the court must consider
           whether the intervention will unduly delay or prejudice the adjudication of
           the original parties’ rights.

       Plaintiffs do not contest that the Proposed Intervenors have filed their application early in

the proceedings and share a common question of law or fact with existing parties to this case. The

Court, nonetheless, should exercise its broad discretion to deny intervention under Rule 24(b)

because their addition to the case would provide no material benefit to the development of

underlying factual issues, but it would prejudice Plaintiffs and risk delay, confusion, and expense in

an accelerated litigation schedule. Indeed, the Proposed Intervenors, despite not being admitted

into the case, have already sought to confer on a motion to vacate this Court’s administrative stay.

See Ex. A. The Proposed Intervenors acknowledged in their email that they are aware that the

Federal Defendants intend to file a “similar” motion next week, but that knowledge failed to lead

to restraint. Far from being atypical, the forthcoming motion epitomizes the type of duplicative

proceedings that would result from Proposed Intervenors’ entry into this lawsuit, should this Court

grant intervention.

       A. Denying permissive intervention would not harm Proposed Intervenors because
          their interests are already represented.
       As set forth above, it is undeniable that the Proposed Intervenors have failed to show that

the Federal Defendants do not adequately represent the interests of Proposed Intervenors in this
case. They plainly have the same overall objective as the Federal Defendants: namely, the defense

and implementation of the PIP Program. The Proposed Intervenors also have not alleged or proved

that there is any collusion, nonfeasance or adverse interests that would render the Federal

Defendants’ representation of the interests of the Proposed Intervenors deficient. There is thus no

basis to believe that denying intervention would impair Proposed Intervenors’ interests,

particularly since they retain the option to participate as amicus curiae. That alone justifies denying

their request as unnecessary and needlessly complicating the litigation. Staley v. Harris Cnty., Tex.,

160 F. App’x 410, 414 (5th Cir. 2005) (per curiam) (denial of permissive intervention was proper


                                                  10
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 11 of 18 PageID #: 573




where another party “adequately represents [intervenor’s] interests in this case”); see also Nevada

v. United States Dep’t of Labor, No. 4:16-cv-731, 2017 WL 3780085, at *3 (E.D. Tex. Aug. 31, 2017)

(Mazzant, J.).

        B. Intervention is unlikely to aid in the factual development of this case any more than
           an amicus brief would.
        At the same time, Proposed Intervenors’ motion did not give this Court any reason to

believe that intervention—as opposed to status as amicus curiae—would significantly contribute to

the development of the underlying facts relevant to this case. The facts that are relevant in this case

are quite limited. The “record rule” sharply restricts what facts this Court may consider when
resolving Plaintiffs’ claims. See Louisiana ex rel. Guste v. Verity, 853 F.2d 322, 327 n. 8 (5th Cir. 1988)

(“Nor are the courts permitted to consider evidence outside the administrative record”); Accord

Sec. & Exch. Comm’n v. Chenery Corp., 318 U.S. 80, 87 (1943) (“The grounds upon which an

administrative order must be judged are those upon which the record discloses that its action was

based.”). The Proposed Intervenors therefore have little or nothing to contribute to the factual

issues that are exceptions to the record rule, such as those surrounding the standing of the Plaintiffs

to bring this action, the existence of final agency action, or the scope of relief.

        Judging by the voluminous declarations the Proposed Intervenors submitted with their

motion to intervene, they would like to detail their individual life journeys, experiences, and

circumstances to argue that the PIP Program would be of great value to them. That is

understandable, but those declarations would be far better directed to Congress than this Court. At

the end of the day, the desires and needs of the Proposed Intervenors for the benefits the PIP

Program could provide are irrelevant to the issues in this case. The real issues, aside from Plaintiffs’

standing, center on the legality of the PIP Program under the INA and APA, as well as the Take

Care Clause. These are questions of law, not fact, and can be developed by Proposed Intervenors

just as well via an amicus brief.




                                                    11
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 12 of 18 PageID #: 574




       C. Because of the accelerated schedule, intervention will disrupt the orderly
          proceeding of this case.
       In contrast to the slight impact of denial of intervention, a grant of intervention to the

Proposed Intervenors would risk significant delay of the resolution of this case as between the

existing Parties. The Court on August 26, 2024, entered its Order. See generally ECF No. 27. The

Order provides temporary equitable relief for 14 days, renewable for good cause or on consent; and

a case schedule providing for shortened notice on discovery requests and completion of all

discovery by September 16, 2024. Under that schedule, Plaintiffs will have until September 17 to

supplement and replace their motion for preliminary injunction, with additional briefing and
attachments pertinent to summary judgment, including parts of the administrative record that is to

be filed by September 9. Briefing by all parties is to be completed by October 3, with the Court to

set an “expedited hearing on preliminary relief and summary judgment, and if necessary, a

consolidated bench trial, on a date as soon as possible after completion of the briefing.”

       Adding twelve Proposed Intervenors with their own entitlement and burden to take and

defend discovery would greatly complicate this expedited schedule and render it impracticable.

Intervenors, after all, “do not come alone—they bring along more issues to decide, more discovery

requests,” all of which makes disposition of the case more cumbrous.1 South Carolina v. North

Carolina, 558 U.S. 256, 287 (2010) (Roberts, C.J., concurring). The risk for disruption is

particularly acute here since the Plaintiffs and Federal Defendants have managed to reach

significant agreement on how to proceed with the accelerated discovery ordered by this Court. This

includes a stipulation that Plaintiffs “will only seek to establish Article III injury based on alleged

injuries to Texas.” ECF No. 36. The addition of Proposed Intervenors to the case puts that

agreement in question. The Parties entered into the stipulation to streamline what otherwise would

have been a time-intensive struggle to compile discovery for all 16 Plaintiffs. The entry of the

       1 As evidence, the Court need not look any further than the email sent by Proposed

Intervenors earlier today, which seeks to confer on a motion to vacate this Court’s administrative
stay. See Ex. A. This motion would be filed on top of a “similar” forthcoming motion from Federal
Defendants.
                                                  12
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 13 of 18 PageID #: 575




Proposed Intervenors will undermine these agreements. Plaintiffs and Federal Defendants

continue to negotiate in good faith and have come to agreement on rolling productions of

documents and continue to evaluate the need for depositions. Granting intervention would upset

this ongoing process, resulting in delays and unnecessary work for both this Court and the Parties.

       D. In this situation, the Court should grant amicus curiae status as an alternative to
          intervention.
       In these circumstances, when detriments of intervention outweigh the benefits, the Fifth

Circuit has recognized the proper role for such putative intervenors:

           Additional parties always take additional time. Even if they have no
           witnesses of their own, they are the source of additional questions, briefs,
           arguments, motions and the like which tend to make the proceeding a
           Donnybrook Fair. Where he presents no new questions, a third party can
           contribute usually most effectively and always most expeditiously by a brief
           amicus curiae and not by intervention.

Viterna, 740 F.2d at 359 (affirming denial of county association’s motion for permissive intervention

as defendant in statewide challenge to county-jail conditions) (cleaned up); see, e.g., La Union del

Pueblo Entero v. Abbott, No. SA-21-cv-00844, 2021 WL 5410516, at *3 (W.D. Tex. Nov. 16, 2021)

(Rodriguez, J.) (denying intervention but allowing participation as amicus). That is precisely the

situation that the Proposed Intervenors’ motion presents here. Plaintiffs will not object to the

Proposed Intervenors filling an amicus curiae brief by September 26, the date on which the Federal
Defendants are to file their brief under the schedule in the Order. But intervention is unwarranted.

III. If intervention is allowed, the Court should restrict the Proposed Intervenors from
     discovery.
       If the Court exercises its discretion to allow intervention, Plaintiffs respectfully request that

the Court preclude the Proposed Intervenors from engaging in any discovery. “When granting an

application for permissive intervention, a federal district court is able to impose almost any

condition, including the limitation of discovery.” Columbus-Am. Discovery Grp. v. Atl. Mut. Ins. Co.,

974 F.2d 450, 469 (4th Cir. 1992) (citing 7C Charles A. Wright & Arthur R. Miller, Fed. Prac. &

                                                  13
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 14 of 18 PageID #: 576




Proc. § 1922 (2d ed. 1986)); Beauregard, Inc. v. Sword Servs. LLC, 107 F.3d 351, 353 & n.5 (5th Cir.

1997) (favorably citing Columbus-Am. Discovery Grp., 974 F.2d 450, for “allow[ing] various

conditions to be imposed upon intervenors”). Any such limitation on intervention would not be

subject to immediate appeal. See Stringfellow v. Concerned Neighbors in Action, 480 U.S. 370, 378

(1987) (noting district courts’ power to restrict the ability of an intervenor to take discovery or

request additional relief, rejecting argument that order allowing intervention while restricting

ability to conduct discovery allowed immediate appeal).

       Because the questions presented in these proceedings are primarily legal ones—and the

injection of more discovery would increase demands where the Parties are already facing the

prospect of completing discovery in a very short time—Proposed Intervenors should not be

allowed discovery. See Bibles v. City of Irving, No. 3:08-cv-1795, 2009 WL 2252510, at *5 (N.D. Tex.

July 28, 2009) (Lynn, J.) (limiting intervenor’s participation in discovery). This would ensure that

the delicate balance of the careful schedule set out in the Court’s Order is not unsettled.

                                            CONCLUSION

       Proposed Intervenors have not shown the factors—adversity of interest, collusion, or

nonfeasance, or differing ultimate objectives—needed to overcome the presumptions of adequate

representation by the existing Federal Defendants in this case. Their presence at this point would

only needlessly complicate an already accelerated litigation schedule and add nothing of any
substance. Intervention should be denied.




                                                 14
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 15 of 18 PageID #: 577




Dated: August 30, 2024.                           Respectfully submitted,

KEN PAXTON                                        Fax: 512-457-4410
Attorney General of Texas
                                                  GENE P. HAMILTON*
BRENT WEBSTER                                     Virginia Bar No. 80434
First Assistant Attorney General                  JAMES ROGERS*
                                                  Arizona Bar no. 027287
RALPH MOLINA
Deputy First Assistant Attorney General           RYAN GIANNETTI*
                                                  DC Bar no. 1613384
AUSTIN KINGHORN
                                                  America First Legal Foundation
Deputy Attorney General for Legal Strategy
                                                  611 Pennsylvania Ave. SE #231
/s/Ryan D. Walters                                Washington, DC 20003
RYAN D. WALTERS                                   (202) 964-3721
Chief, Special Litigation Division                Gene.Hamilton@aflegal.org
Texas Bar No. 24105085                            James.Rogers@aflegal.org
Ryan.Walters@oag.texas.gov                        Ryan.Giannetti@aflegal.org
                                                  COUNSEL FOR PLAINTIFF
KATHLEEN T. HUNKER                                STATE OF TEXAS
Special Counsel
Texas Bar No. 24118415
                                                  RAÚL R. LABRADOR
Kathleen.Hunker@oag.texas.gov
                                                  Idaho Attorney General
DAVID BRYANT
                                                  /s/ Alan Hurst
Senior Special Counsel
                                                  ALAN HURST*
Texas Bar No. 03281500
                                                  Solicitor General
David.Bryant@oag.texas.gov
                                                  MICHAEL A. ZARIAN*
GARRETT GREENE                                    Deputy Solicitor General
Special Counsel                                   Office of the Idaho Attorney General
Texas Bar No. 24096217                            P.O. Box 83720
Garrett.Greene@oag.texas.gov                      Boise, Idaho 83720
                                                  (208) 334-2400
MUNERA AL-FUHAID                                  Alan.Hurst@ag.idaho.gov
Special Counsel                                   Michael.Zarian@ag.idaho.gov
Texas State Bar No. 24094501
                                                  COUNSEL FOR STATE OF IDAHO
Munera.Al-fuhaid@oag.texas.gov
                                                  *Admitted Pro Hac Vice
Office of the Attorney General of Texas
Special Litigation Division
P.O. Box 12548, Capitol Station
Austin, Texas 78711-2548
Telephone: 512-463-2100

                                             15
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 16 of 18 PageID #: 578




STEVE MARSHALL                                   CHRISTOPHER M. CARR
Attorney General of Alabama                      Attorney General of Georgia

/s/ Robert M. Overing                            /s/Stephen J. Petrany
ROBERT M. OVERING                                STEPHEN J. PETRANY*
Deputy Solicitor General                         Solicitor General
Robert.Overing@AlabamaAG.gov                     Office of the Attorney General
Office of the Attorney General of Alabama        40 Capitol Square, SW
501 Washington Avenue                            Atlanta, Georgia 30334
Montgomery, Alabama 36130                        (404) 458-3408
Telephone: (334) 242-7300                        spetrany@law.ga.gov
Fax: (334) 353-8400                              COUNSEL FOR STATE OF GEORGIA
COUNSEL FOR STATE OF ALABAMA                     *Admitted Pro Hac Vice

TIM GRIFFIN                                      BRENNA BIRD
Attorney General of Arkansas                     Attorney General of Iowa
Nicholas J. Bronni
Solicitor General                                /s/ Eric H. Wessan
                                                 ERIC H. WESSAN
/s/ Dylan L. Jacobs                              Solicitor General
DYLAN L. JACOBS*                                 1305 E. Walnut Street
 Deputy Solicitor General                        Des Moines, Iowa 50319
Office of the Arkansas Attorney General          (515) 823-9117
323 Center Street, Suite 200                     (515) 281-4209 (fax)
Little Rock, AR 72201                            eric.wessan@ag.iowa.gov
Telephone: (501) 682-2007
Dylan.jacobs@arkansasag.gov                      COUNSEL FOR STATE OF IOWA
Counsel for State of Arkansas
*admission application forthcoming               KRIS W. KOBACH
                                                 Attorney General of Kansas
ASHLEY MOODY
Attorney General of Florida                      s/ Abhishek S. Kambli
                                                 ABHISHEK S. KAMBLI
s/ James Percival
                                                 Deputy Attorney General – Special Litigation
JAMES H. PERCIVAL
                                                 & Constitutional Issues Division
Chief of Staff
                                                 120 SW 10th Avenue, 2nd Floor
Office of the Attorney General
                                                 Topeka, Kansas 66612
The Capitol, Pl-01
                                                 Phone: (785) 296-6109 | Fax: (785) 221-3938
Tallahassee, Florida 32399-1050
                                                 abhishek.kambli@ag.ks.gov
(850) 414-3300
(850) 410-2672 (fax)                             COUNSEL FOR STATE OF KANSAS
James.percival@myfloridalegal.com
COUNSEL FOR STATE OF FLORIDA


                                            16
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 17 of 18 PageID #: 579




ELIZABETH B. MURRILL                      DAVE YOST
Attorney General of Louisiana             Attorney General of Ohio

s/ J. Benjamin Aguiñaga                   /s/ T. Elliot Gaiser
J. BENJAMIN AGUIÑAGA*                     T. ELLIOT GAISER*
Solicitor General                         Ohio Solicitor General
Office of the Attorney General            30 East Broad Street, 17th Floor
1885 N. 3rd St.                           Columbus, Ohio 43215
Baton Rouge, LA 70802                     614.466.8980
(225) 506-3746                            614.466.5087 fax
AguinagaB@ag.louisiana.gov                thomas.gaiser@ohioago.gov
COUNSEL FOR STATE OF LOUISIANA            COUNSEL FOR STATE OF OHIO
*admission application forthcoming        *Admitted Pro Hac Vice

ANDREW BAILEY                             MARTY JACKLEY
Attorney General of Missouri              Attorney General of South Dakota

/s/ Samuel C. Freedlund                   /s/ Clifton E. Katz
SAMUEL C. FREEDLUND, 73707MO              CLIFTON E. KATZ*
Deputy Solicitor General                  Assistant Attorney General
Office of the Attorney General            1302 E. Highway 14, Suite 1
815 Olive St., Suite 200                  Pierre, South Dakota 57501
St. Louis, MO 63188                       Telephone: 605-773-3215
Phone: (314) 340-4869                     E-Mail: clifton.katz@state.sd.us
Fax (573) 751-1774                        COUNSEL FOR STATE OF SOUTH DAKOTA
Samuel.Freedlund@ago.mo.gov               *Admitted Pro Hac Vice
COUNSEL FOR THE STATE OF MISSOURI
                                          ALAN WILSON
DREW H. WRIGLEY                           Attorney General of South Carolina
Attorney General of North Dakota
                                          s/ J. Emory Smith, Jr.
/s/ Philip Axt                            JAMES EMORY SMITH, JR.
PHILIP AXT*                               Deputy Solicitor General
Solicitor General                         Email: esmith@scag.gov
Office of Attorney General                Office of the Attorney General
600 E. Boulevard Ave Dept. 125            Post Office Box 11549
Bismarck, ND 58505                        Columbia, South Carolina 29211
Phone: (701) 328-2210                     Phone: (803) 734-3642
pjaxt@nd.gov                              Fax: (803) 734-3677
COUNSEL FOR STATE OF NORTH DAKOTA         COUNSEL FOR STATE OF SOUTH CAROLINA
*Admitted Pro Hac Vice                    *Application for Admission Forthcoming


                                     17
Case 6:24-cv-00306-JCB Document 42 Filed 08/30/24 Page 18 of 18 PageID #: 580




JONATHAN SKRMETTI
Attorney General of Tennessee

/s/ Whitney D. Hermandorfer
WHITNEY D. HERMANDORFER
Director of Strategic Litigation
Tennessee Bar. No. 041054
Whitney.Hermandorfer@ag.tn.gov
Office of the Tennessee Attorney General
P.O. Box 20207
Nashville, Tennessee 37202
(615) 741-8726
BRIDGET HILL
Attorney General of Wyoming

/s/ Ryan Schelhaas
RYAN SCHELHAAS*
Chief Deputy Attorney General
109 State Capitol
Cheyenne, WY 82002
(307) 777-5786
ryan.schelhaas@wyo.gov
COUNSEL FOR STATE OF WYOMING
*motion for pro hac vice admission forthcoming



                                     CERTIFICATE OF SERVICE
        I certify that on August 30, 2024, a true and accurate copy of the foregoing document was
filed and served electronically, via CM/ECF.

                                                      /s/Ryan D. Walters
                                                      RYAN D. WALTERS




                                                 18
